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                                 IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF DELAWARE

                                                                    )
         In re:                                                     )     Chapter 11
                                                                    )
         HDR HOLDING, INC.,                                         )     Case No. 19-11396 (___)
                                                                    )
                                    Debtor.1                        )
                                                                    )
                                                                    )
         In re:                                                     )     Chapter 11
                                                                    )
         SCHRAMM, INC.,                                             )     Case No. 19-11397 (___)
                                                                    )
                                    Debtor.                         )
                                                                    )

                    DEBTORS’ MOTION FOR ENTRY OF AN ORDER DIRECTING THE
                    JOINT ADMINISTRATION OF THE DEBTORS’ CHAPTER 11 CASES

                           HDR Holding, Inc. (“HDR”) and Schramm, Inc. (“Schramm”), the debtors and

         debtors in possession in the above-captioned chapter 11 cases (together, the “Debtors”) hereby

         file this motion (the “Motion”), for entry of an order, substantially in the form attached hereto as

         Exhibit A (the “Proposed Order”), authorizing the joint administration of the Debtors’ chapter 11

         cases for procedural purposes only. The facts and circumstances supporting this Motion are set

         forth in the concurrently-filed Declaration of Craig Mayman in Support of Chapter 11 Petitions

         and First-Day Motions (the “First Day Declaration”). In further support of this Motion, the

         Debtors respectfully represent as follows:




         1
          The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
         HDR Holding, Inc. (2015) and Schramm, Inc. (0480). The Debtors’ mailing address is 800 E. Virginia Ave., West
         Chester, PA 19380.

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                                                 JURISDICTION

                 1.     The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334

         and the Amended Standing Order of Reference from the United States District Court for the

         District of Delaware, dated as of February 29, 2012. This matter is a core proceeding within the

         meaning of 28 U.S.C. § 157(b)(2). Pursuant to rule 9013-1(f) of the Local Rules of Bankruptcy

         Practice and Procedure of the United States Bankruptcy Court for the District of Delaware (the

         “Local Rules”), the Debtors consent to the entry of a final order by the Court in connection with

         this Motion to the extent that it is later determined that the Court, absent consent of the parties,

         cannot enter final orders or judgments in connection herewith consistent with Article III of the

         United States Constitution. Venue in this Court is proper pursuant to 28 U.S.C. §§ 1408 and

         1409.

                 2.     The statutory predicates for the relief requested herein are Bankruptcy Code

         section 105(a), rule 1015(b) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

         Rules”), and Local Rule 1015-1.

                                                 BACKGROUND

                 3.     On the date hereof (the “Petition Date”), each of the Debtors commenced a

         voluntary case under chapter 11 of the Bankruptcy Code (the “Chapter 11 Cases”). The Debtors

         are authorized to operate their business and manage their properties as debtors in possession

         pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No official committees have

         been appointed in the Chapter 11 Cases and no request has been made for the appointment of a

         trustee or an examiner.

                 4.     Additional information regarding the Debtors’ business, capital structure, and the

         circumstances leading to the filing of the Chapter 11 Cases is set forth in the First Day

         Declaration.

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                                                        RELIEF REQUESTED

                    5.       The Debtors submit this Motion pursuant to section 105(a) of the Bankruptcy

         Code, Bankruptcy Rule 1015, and Local Rule 1015-1, requesting entry of the Proposed Order,

         consolidating the Debtors’ chapter 11 cases for procedural purposes only. Most, if not all of the

         motions, applications, hearings, and orders that will arise in these chapter 11 cases will affect

         both of the Debtors jointly. For this reason, the Debtors respectfully submit that their interests,

         as well as the interests of their creditors and other parties in interest, would be best served by the

         joint administration of these chapter 11 cases, albeit for procedural purposes only.

                    6.       The Debtors also request that the Clerk of the Court maintain one file and one

         docket for all of the Debtors’ chapter 11 cases, which file and docket shall be the file and docket

         for HDR.

                    7.       The Debtors further request that the caption of the Chapter 11 Cases be modified

         as follows to reflect their joint administration:

                                        UNITED STATES BANKRUPTCY COURT
                                             DISTRICT OF DELAWARE


         In re                                                           Chapter 11

         HDR HOLDING, INC., et al. 1                                     Case No.: 19-11396 (___)

                                      Debtors.                           Jointly Administered


         1
                The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number,
                are: HDR Holding, Inc. (2015) and Schramm, Inc. (0480). The Debtors’ mailing address is 800 E. Virginia
                Ave., West Chester, PA 19380.

                    8.       In addition, the Debtors seek the Court’s direction that a separate docket entry be

         made on the docket of Schramm substantially as follows:

                             An order has been entered in this case directing the joint
                             administration for procedural purposes only of the chapter 11 cases

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                        of HDR Holding, Inc. and Schramm, Inc. The docket in the
                        chapter 11 case of HDR Holding, Inc., Case No. 19-11396 (____),
                        should be consulted for all matters concerning this case.
                                            SUPPORTING AUTHORITY

                9.      Bankruptcy Rule 1015(b) provides that, if two or more petitions are pending in

         the same court by or against a debtor and an affiliate, “the court may order a joint administration

         of the estates.” Fed. R. Bankr. P. 1015(b). Local Rule 1015-1 similarly provides for joint

         administration of chapter 11 cases when the facts demonstrate that joint administration “is

         warranted and will ease the administrative burden for the Court and the parties.” Del. Bankr.

         L.R. 1015-1. In this case, Schramm is an “affiliate,” as that term is defined in Bankruptcy Code

         section 101(2), of HDR, and, accordingly, the Court has the authority to grant the relief

         requested herein.

                10.     Additionally, the joint administration of the Debtors’ respective estates is

         warranted and will ease the administrative burden on the Court and all parties in interest in the

         Chapter 11 Cases. The joint administration of the Chapter 11 Cases will permit the Clerk of the

         Court to utilize a single docket for all of the cases and to combine notices to creditors and other

         parties in interest. In addition, there likely will be numerous motions, applications, and other

         pleadings filed in these Chapter 11 Cases that will affect both of the Debtors.                Joint

         administration will permit counsel for all parties in interest to include all of the Debtors’ Chapter

         11 Cases in a single caption for the numerous documents that are likely to be filed and served in

         these cases. Joint administration also will enable parties in interest in each of the Chapter 11

         Cases to stay apprised of all of the various matters before the Court.

                11.     Joint administration of the Chapter 11 Cases will not prejudice or adversely affect

         the rights of the Debtors’ creditors because the relief sought herein purely is procedural and is

         not intended to affect substantive rights. Because the Chapter 11 Cases involve two Debtors,

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         joint administration will reduce the volume of paper that otherwise would be filed with the Clerk

         of the Court, render the completion of various administrative tasks less costly, and minimize the

         number of unnecessary delays.

                                                       NOTICE

                12.     Notice of this Motion will be provided to: (a) the Office of the United States

         Trustee for the District of Delaware; (b) holders of the thirty (30) largest unsecured claims on a

         consolidated basis against the Debtors; (c) counsel to the Debtors’ pre-petition and post-petition

         lenders; (d) the Internal Revenue Service; (e) the Securities and Exchange Commission; (f) the

         Office of the United States Attorney for the District of Delaware; and (g) all parties that have

         filed a notice of appearance and request for service of papers pursuant to Bankruptcy Rule 2002.

         Notice of this Motion and any order entered hereon will be served in accordance with Local Rule

         9013-1(m). In light of the nature of the relief requested herein, the Debtors submit that no other

         or further notice is necessary.



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                         WHEREFORE, for the reasons set forth herein, the Debtors respectfully request

         that the Court (a) enter the Proposed Order granting the relief requested herein and such other

         and further relief as is just and proper.


         Dated: June 24, 2019                        /s/ Sean T. Greecher
                                                     Pauline K. Morgan (Bar No. 3650)
                                                     Sean T. Greecher (Bar No. 4484)
                                                     Joseph M. Mulvihill (Bar No. 6061)
                                                     Jared W. Kochenash (Bar No. 6557)
                                                     YOUNG CONAWAY STARGATT & TAYLOR, LLP
                                                     Rodney Square
                                                     1000 North King Street
                                                     Wilmington, Delaware 19801
                                                     Tel: (302) 571-6600
                                                     Fax: (302) 571-1253

                                                     Proposed Counsel to Debtors and Debtors in Possession




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                                      Exhibit A

                                    Proposed Order




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                                 IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF DELAWARE

                                                                     )
         In re:                                                      )     Chapter 11
                                                                     )
         HDR HOLDING, INC.,                                          )     Case No. 19-11396 (___)
                                                                     )
                                    Debtor.1                         )     Ref. Docket No. ___
                                                                     )
                                                                     )
         In re:                                                      )     Chapter 11
                                                                     )
         SCHRAMM, INC.,                                              )     Case No. 19-11397 (___)
                                                                     )
                                    Debtor.                          )     Ref. Docket No. ___
                                                                     )

                              ORDER DIRECTING THE JOINT ADMINISTRATION
                                  OF THE DEBTORS’ CHAPTER 11 CASES

                  Upon the Motion2 of the above-captioned debtors and debtors in possession (collectively,

         the “Debtors”) for entry of this Order pursuant to Bankruptcy Code section 105(a), Bankruptcy

         Rule 1015(b), and Local Rule 1015-1, authorizing the joint administration of these chapter 11

         cases for procedural purposes only, as further described in the Motion; and this Court having

         jurisdiction to consider the Motion and the relief requested therein in accordance with 28 U.S.C.

         §§ 157 and 1334 and the Amended Standing Order of Reference from the United States District

         Court for the District of Delaware, dated as of February 29, 2012; and consideration of the

         Motion and the relief requested therein being a core proceeding in accordance with 28 U.S.C.

         § 157(b)(2); and venue being proper in this District pursuant to 28 U.S.C. §§ 1408 and 1409; and

         due and proper notice of the Motion being adequate and appropriate under the particular

         circumstances; and upon the record of any hearing held to consider the relief requested in the

         1
           The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
         HDR Holding, Inc. (2015) and Schramm, Inc. (0480). The Debtors’ mailing address is 800 E. Virginia Ave., West
         Chester, PA 19380.
         2
           All capitalized terms not otherwise defined herein are to be given the meanings ascribed to them in the Motion.
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         Motion; and upon the First Day Declaration and all proceedings had before this Court; and this

         Court having found and determined that the relief sought in the Motion is in the best interests of

         the Debtors’ estates, their creditors and other parties in interest and that the legal and factual

         bases set forth in the Motion establish just cause for the relief granted herein; and any objections

         to the requested relief having been withdrawn or overruled on the merits; and after due

         deliberation and sufficient cause appearing therefor, it is hereby ORDERED:

                    1.       The Motion is granted.

                    2.       The above-captioned cases are consolidated for procedural purposes only and

         shall be administered jointly under the case of HDR Holding, Inc., Case No. 19-11396 (___).
                    3.       All pleadings filed in the Debtors’ chapter 11 cases shall bear a consolidated

         caption in the following form:

                                        UNITED STATES BANKRUPTCY COURT
                                             DISTRICT OF DELAWARE


         In re                                                           Chapter 11

         HDR HOLDING, INC., et al. 1                                     Case No.: 19-11396 (___)

                                      Debtors.                           Jointly Administered


         1
                The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number,
                are: HDR Holding, Inc. (2015) and Schramm, Inc. (0480). The Debtors’ mailing address is 800 E. Virginia
                Ave., West Chester, PA 19380.

                    4.       The consolidated caption set forth above satisfies the requirements of Bankruptcy

         Code section 342(c)(1).

                    5.       The Clerk of this Court shall make a docket entry the Schramm, Inc. case

         substantially as follows:

                             An order has been entered in this case directing the joint
                             administration for procedural purposes only of the chapter 11 cases
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                           of HDR Holding, Inc. and Schramm, Inc. The docket in the
                           chapter 11 case of HDR Holding, Inc., Case No. 19-11396 (____),
                           should be consulted for all matters concerning this case.
                  6.       The Clerk of this Court shall maintain a single pleadings docket and file for all of

         the Debtors’ Chapter 11 Cases, which shall be the pleadings docket and file for HDR Holding,

         Inc.

                  7.       This Court shall retain jurisdiction with respect to any and all matters arising from

         or related to the interpretation or implementation of this Order.

         Dated:        _______________, 2019
                       Wilmington, Delaware

                                                      United States Bankruptcy Judge




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